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                                             SGT. C.D. King                                   September 12, 2022
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                                                   Page 18                                                     Page 20
 1     Q. Over the course of your time on that                1 old, Sergeant King?
 2 website, did you come across women who were posting        2     A. Could be.
 3 ads on Backpage who were at the United Inn and             3        MR. STORY: Object to form.
 4 Suites?                                                    4 BY MR. BOUCHARD:
 5     A. Yes.                                                5     Q. I heard -- I didn't hear what you said,
 6     Q. Would they ever use the name United Inn or          6 Sergeant King. Sorry.
 7 United Inn and Suites or the address of the hotel in       7     A. Possibility, yes, could be.
 8 their posts on Backpage?                                   8     Q. I said I had one more question, but I -- I
 9     A. Once in a blue moon they'll put the name,           9 realize I spoke too soon, about this report,
10 but rarely. They normally get that information once       10 Sergeant King. It says here that the -- the female
11 they text you or call you and speak on the phone,         11 on the passenger side, Tonisha Smith, waved her hand
12 they'll tell you the address and then tell you the        12 and exited out of the vehicle. But the prior
13 name. But they normally don't post that in the            13 sentence says that you and Officer Schofield
14 description.                                              14 observed a gray Honda Accord occupied by two females
15     Q. I wanted to ask you one other question             15 coming from the rear of the hotel. Did you ever
16 about this report that we're looking at from              16 figure out who the other female was who was in the
17 August 12, 2015, which has been identified as             17 car with Tonisha Smith?
18 Plaintiff's Exhibit 1. What gave rise to this             18     A. Possibly not, if it's not in the report.
19 prostitution operation in the first place, Sergeant       19 Maybe she could have been a friend dropping her off.
20 King?                                                     20 She could have had another room there as well. It's
21     A. At the United Inn?                                 21 a lot of females have different rooms in the hotel,
22     Q. Yeah. I mean, how was it that you and              22 so she could have been prostituting there as well
23 Schofield ended up investigating this prostitution        23 but in a different room.
24 at the United Inn as of August 12th, 2015?                24     Q. Just following up on what you just said, is
25     A. Well, United Inn is -- was one of the --           25 it fair to say that there were a number of women, in
                                                   Page 19                                                     Page 21
 1 one of the problem hotels that we had in DeKalb      1 your experience, working at the United Inn and
 2 County for drug and prostitution anyway, so it was   2 Suites doing commercial sex activities?
 3 like a radar hotel that we know about. Due to the    3     A. Absolutely, yes.
 4 fact that a lot of arrests were made, several        4     Q. And was that true during the entire period
 5 arrests were made for narcotics and prostitution     5 that you were a member of the vice unit from 2015 to
 6 prior, for several years, at the hotel.              6 2021?
 7       And anytime that we get a female that we       7     A. Yes.
 8 locate off of Backpage.com and they give us that     8     Q. Ms. Smith said in this fourth paragraph
 9 address number, we immediately know the hotel, that 9 here, Sergeant King, that she could not locate her
10 it was United Inn.                                  10 room key, and she said please don't leave, have to
11     Q. So when you got that address, you didn't     11 go to the front office to get another key."
12 have to double-check and see where that was, you    12       And Officer Schofield apparently replied,
13 automatically knew that the United Inn and Suites? 13 "Okay, not a problem." And it says she as and
14     A. Absolutely, yes. Familiarized with those     14 Tonisha Smith later walked back to the hotel room
15 numbers, the addresses.                             15 with a key and opened the door. Both Officer C.
16     Q. Because that's a hotel that you were aware   16 King and I proceeded to walk inside the hotel room."
17 had a high crime rate?                              17 Do you see that?
18     A. Yes.                                         18     A. Yes.
19     Q. And the crime that you were aware of at the  19     Q. Okay. Was it your understanding that
20 United Inn and Suites included drugs and            20 Tonisha Smith then went back to the hotel lobby and
21 prostitution?                                       21 got a new key for the room?
22     A. Yes.                                         22     A. Yes.
23     Q. Did you believe that some of that            23     Q. Okay. All right. I'm showing you what
24 commercial sex that was occurring at the United Inn 24 I've marked as Plaintiff's Exhibit 2 to your
25 and Suites involves women under the age of 18 years 25 deposition, Sergeant King, which is Bates stamped

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 1 sexual acts on a person for monetary gifts; could be  1 the pimp-prostitute issue that we were just talking
 2 money, could be gift cards, could be getting a room   2 about. Were you familiar with there being pimps at
 3 or whatnot. The pimp does, the pimp oversees all      3 the United Inn and Suites specifically who were
 4 that stuff, so once the prostitute performs those     4 overseeing multiple prostitutes?
 5 acts, any monetary gifts or gifts that he or she      5     A. Yes.
 6 gets, she pass it on to the pimp, and the pimp take   6     Q. Okay. Do -- do you recall the names of any
 7 possession of it.                                     7 of those pimps?
 8     Q. So the pimp gets some portion, or maybe in     8     A. No, I can't recall, remember the names of
 9 some cases all that the prostitute earns from sexual  9 them.
10 activity for money?                                  10     Q. Well, and again, it's not -- it's not a
11     A. Yes.                                          11 memory test so it's fine if you don't remember, but
12     Q. Are you familiar over the course of your      12 in the course of your work in the vice unit, you
13 time in law enforcement in your work at the United 13 were aware that there were pimps at the United Inn
14 Inn and Suites, are you familiar with there being    14 and Suites who were --
15 pimps at the hotel who were working with prostitutes 15     A. Yes.
16 at the hotel, sir?                                   16     Q. -- overseeing multiple prostitutes?
17     A. Yes, absolutely.                              17     A. Yes.
18     Q. And so the pimps at the United Inn and        18     Q. And again, when we talk about your time in
19 Suites, then, in your understanding, Sergeant King, 19 the vice unit, we're talking about 2015 to 2021. So
20 would have been collecting money from the            20 is that period -- is that period of time when you
21 prostitutes that were working for them after those   21 were familiar with there being pimps at the United
22 prostitutes had made money from sex?                 22 Inn overseeing multiple prostitutes?
23     A. Yes.                                          23     A. Yes.
24     Q. And I'm assuming when it says here that       24     Q. Okay. Taking you back to Plaintiff's
25 Ms. Day, that is Daysheana Day, stated that          25 Exhibit 4, this is a report that you are on, sir,
                                                 Page 27                                                   Page 29
 1 Mr. Perry, her pimp, left, taking his suitcase and       1 and it's dated July 21, 2017. Do you see that?
 2 proceeded to another female's room at the motel, we      2    A. Yes.
 3 don't know who this other female was, do we?             3    Q. And you see again incident location, 4649
 4      A. Let me see. Proceeded to another female's        4 Memorial, which is United Inn?
 5 room at the motel. Ms. Day stated that the room --       5    A. Yes.
 6 I don't know who the other female was.                   6    Q. And the incident type is prostitution;
 7      Q. Are you familiar, sir, from your time in         7 right?
 8 the vice unit, DeKalb County, working on human           8    A. Yes.
 9 trafficking and prostitution investigations with one     9    Q. The offender here is listed as somebody by
10 pimp having multiple women working for him at the       10 the name of Jessica Kenya Smith, who's 18 years old.
11 same time?                                              11 Right?
12      A. Absolutely, yes.                                12    A. Yes.
13      Q. In other words, one individual pimp could       13    Q. And Sergeant King, I wanted to ask you,
14 have multiple hotel rooms with multiple women           14 after you've had a chance to take a look at this
15 working out of those hotel rooms, and he's earning      15 narrative, if -- if you could just sort of summarize
16 money from all of those women?                          16 what happened in -- in this particular incident
17      A. Yes.                                            17 report that's recorded here.
18      Q. Sir, I'm going to show you what's been          18       Have you had a chance to review it,
19 marked as Plaintiff's Exhibit 4, which is Bates         19 Sergeant King?
20 stamped Plaintiff 1432 to 1433, and this is             20    A. Yes.
21 Plaintiff's Exhibit 4.                                  21    Q. Do you mind just summarizing for me what --
22         (Plaintiff's Exhibit 4 marked)                  22 what happened here?
23 BY MR. BOUCHARD:                                        23    A. Looks like detective at the time was
24      Q. And before asking you some questions about      24 Detective Johnson. He did the same thing as by
25 it, I just wanted to ask you something else about       25 contacting a -- scrolling the Backpage.com website.

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 1 Observed a black female posing most likely in nudity 1 task force unit to assist with it as well.
 2 and soliciting for sex. Made contact with her via     2     Q. And that --
 3 telephone. She stated that it's $80 for 30 minutes    3     A. Which is --
 4 of sexual favors and to also bring a condom.          4     Q. Go ahead.
 5       Johnson arrived at the location. The            5     A. Which is the NET team, the Neighborhood
 6 female gave him the address, which is the 4649        6 Enforcement Team.
 7 Memorial Drive, United Inn hotel. Once he arrived,    7     Q. So the FBI was present for this operation
 8 she gave her room number of 132. Johnson went         8 too?
 9 inside the room, did the money exchange and           9     A. Yes. I'm a part of the FBI, so we -- I
10 everything. Then he contact us, who was waiting      10 mean, they don't have to be there. I'm a part of
11 outside the vice unit. I was in a -- then we took    11 the FBI-Metro Atlanta Task Force Unit. So we have
12 the female down into custody. That was my role on 12 two roles: I'm a vice unit vice detective at that
13 this play here.                                      13 time, and I have credentials for the FBI for the
14     Q. Were you in undercover attire for this, or    14 Metro Atlanta Children Exploitation Unit.
15 were you in your uniform?                            15     Q. Understood. And it says "conducted an
16     A. At this time I probably had my mask on with 16 operation in reference to child and adult
17 a pullover vest that says Police. Plain clothes,     17 prostitution." What does that mean, child and adult
18 but we just put a vest on over our shirts and a mask 18 prostitution?
19 on our face.                                         19     A. We're doing a mass operation in reference
20     Q. I wanted to ask -- go ahead, sorry.           20 to combatting all human trafficking and
21     A. And I also had a marked unit uniformed        21 prostitutions, any -- any adult or underage
22 personnel who be with me as well and we -- for the 22 individuals that's in a human traffic operation. So
23 presence of the police, to show that the police      23 we try to find people that's probably 18 and under,
24 presence was there.                                  24 focus on that 18 and under in reference to when it
25     Q. Do you remember how many officers were        25 comes to the MATCH Task Force.
                                                    Page 31                                                     Page 33
 1 involved in this operation?                                 1    Q. And is 18 and under considered a minor
 2     A. No. Look like it was the NET team, so it             2 under the law?
 3 could have been a minimum of probably three,                3    A. Yes.
 4 minimum.                                                    4    Q. And so is it fair to say in your experience
 5     Q. Well, let me ask you about that a little             5 and training in law enforcement, Sergeant King, that
 6 bit more. It says in the second paragraph here, "On         6 there's a difference between somebody who's over 18
 7 July 20th, 2017, the DeKalb County Vice Unit and the        7 engaging in commercial sex from somebody who's under
 8 FBI Metro Atlanta Child Exploitation Task Force,            8 18 engaging in commercial sex?
 9 with help from the North Central Precinct                   9    A. Yes, absolutely. Actually, it's 17. So 17
10 Neighborhood Enforcement Team, conducted an                10 and under now. Once you get 18, then it's adult.
11 operation in reference to child and adult                  11    Q. So if you're under 18, if you're 17, it's
12 prostitution at 4649 Memorial Drive, United Inn and        12 considered to be a minor?
13 Suites, Decatur, 30032."                                   13    A. Yes.
14       I just want to sort of break that down with          14    Q. Do you recall what gave rise to this
15 you, Sergeant King, if we can. Why -- why would            15 operation regarding child and adult prostitution at
16 there have been more than just the DeKalb County           16 United Inn?
17 Vice Unit? Like, why was the FBI have been                 17    A. Backpage.com. Once you type in
18 involved?                                                  18 Backpage.com, you can normally filter and put a --
19     A. Like I said, we're a part of the MATCH Task         19 pretty much of a location, so you type in Memorial
20 Force, which is the Metro Atlanta Child Exploitation       20 Drive, it would filter every ads that's posted in
21 Task Force Unit for the FBI. Sometimes we conduct          21 the area of Memorial Drive.
22 operations, we do conduct operations that falls up         22    Q. So if you went in Backpage.com around 2017,
23 under the FBI. And so at that time the FBI was             23 July, and searched for Memorial Drive, it -- it
24 present. And then whatever territory that hotel or         24 would sort of filter you down to the advertisements
25 residence is at, we normally get the -- the precinct       25 from people who were around Memorial Drive and were

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 1 selling sex?                                                1 stroller inside the bathroom.
 2     A. Yes.                                                 2     A. Oh, I remember this case. Yes. Yes, we
 3     Q. Were you able to, in the course of that              3 know her. I arrested her maybe two or three times
 4 kind of an analysis of Backpage and the                     4 after that too. Yeah, I'm familiar with this one
 5 advertisements on Backpage, were you able to figure         5 all the way.
 6 out there's a lot of advertisements coming from this        6     Q. Okay. And do you recall whether you
 7 area around United Inn and Suites?                          7 arrested her again at the United Inn and Suites or
 8     A. Yes, pretty much. Any advertisement that             8 was it somewhere else?
 9 you normally get off of Memorial Drive, they                9     A. Another hotel in DeKalb. She got arrested
10 normally nine out of ten used to be United Inn.            10 with a female. Yes.
11     Q. And there are a lot of hotels on Memorial           11     Q. Okay, sir. I'm showing you what's been
12 Drive; right?                                              12 marked as Plaintiff's Exhibit 5, which is an article
13     A. Approximately, I think it's around about            13 from the Atlanta Journal Constitution, and the
14 four or five, all the way down.                            14 headline is DeKalb News, extended stay hotel
15     Q. But you're saying most of the -- the                15 inspections lead to 2,397 citations.
16 commercial sex activity, in your experience, that          16        (Plaintiff's Exhibit 5 marked)
17 was on Memorial Drive was at United Inn?                   17 BY MR. BOUCHARD:
18     A. Yes.                                                18     Q. Do you see that?
19     Q. Do you recall -- in terms of what gave rise         19     A. Yes.
20 to this investigation about child and adult                20     Q. And I wanted to ask you just a couple
21 prostitution at United Inn, do you remember there          21 questions about this article. The first sentence in
22 being any complaints made to the DeKalb County             22 the article says "12 extended stay hotels in DeKalb
23 Police Department from local business owners or            23 County accumulated 2,397 code enforcement citations
24 citizens or -- or anybody else about this kind of          24 during 2018 according to a report provided to the
25 activity at the hotel?                                     25 county commission." Do you see that?
                                                    Page 35                                                       Page 37
 1     A. No.                                                  1     A. Yes.
 2     Q. So similar to the 2015 incident that we              2     Q. Okay. And then the next page says, "The
 3 talked about, just to make sure I'm clear, Sergeant         3 worst offender was United Inn and Suites in Decatur,
 4 King, Ms. Smith, who's the subject in this report,          4 which paid $60,345 in fines after receiving 447
 5 was offering to have sex with a DeKalb County Police        5 citations last year. It was among four hotels along
 6 Officer who was undercover for money; is that right?        6 Memorial drive that made the list." Do you see
 7     A. Yes.                                                 7 that?
 8     Q. And she was at the United Inn; correct?              8     A. Yes.
 9     A. Yes.                                                 9     Q. Sergeant King, were you aware that the
10     Q. And you participated in -- in the arrest;           10 United Inn and Suites had received 447 citations in
11 is that correct?                                           11 2018 from DeKalb County Code Enforcement?
12     A. Yes.                                                12     A. Not -- I didn't know, aware of the total
13     Q. And when you went into the hotel room, can          13 amount of numbers, but I knew that all the hotels
14 you tell us what you saw?                                  14 was getting cited for a lot of violations, several
15     A. I don't remember what I saw at that time.           15 hotels, and I knew United Inn was one of them. But
16 Normally when you go in the room, you normally find        16 I didn't check up on the final numbers of how many
17 a female, could be partially naked or could be fully       17 citations was written.
18 naked. We take pictures. And then we'll locate our         18     Q. Did you know that United Inn and Suites was
19 investigative funds money that the detective gave          19 the worst offender in terms of the volume of fines
20 the female. Then we'll retrieve the money. Then            20 and the volume of citations?
21 we'll put that female into custody and take her            21     A. Didn't know that.
22 downstairs and secure her inside a marked police           22     Q. Does that surprise you, based on your time
23 vehicle.                                                   23 and experience at the United Inn and Suites?
24     Q. Okay. This -- this mentions in the report           24     A. No, it doesn't surprise me.
25 that there was a female toddler sitting in a               25     Q. Why do you say that?

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 1 made arrangements for her to text me the address.          1 wanted to ask you about this e-mail from Steven
 2 She texted the address as United Inn.                      2 Coachman. Do you know Sergeant Coachman?
 3        Once I arrived to the location, they gave           3    A. No.
 4 the -- the room number for 118. At that time I went        4    Q. Okay. Well, he says here on March 9th,
 5 up to the Room 118, opened up the door. It's a             5 with the subject line Operation Safe Guard, he said,
 6 female who opened up the door, she was standing            6 "This plan will be a daily initiative for all
 7 behind the door. She was completely naked, and             7 shifts/units until further notice, at least the next
 8 there was another female directly in front of me who       8 six weeks. There are eight stores and ten hotels
 9 had a jumpsuit on. I noticed both of the females           9 have been identified as target areas. We will focus
10 who pictures were posted on Listcrawler.com at that       10 daily in these areas to reduce criminal activity.
11 time.                                                     11 Please list the address of the target location on
12        Made connections with them. Talked about           12 your PATS when you patrol the location. Example,
13 the money, exchanged for the money. At the time,          13 6201 Memorial Drive, Texaco; 4649 Memorial Drive,
14 notified the units outside to come and take them          14 United Inn. If you make any cases in the target
15 into custody. Upon taking them into custody, they         15 areas, citation or arrest, please advise your
16 noticed there was a male hiding inside the bathroom.      16 supervisor so it can be entered on the daily
17 He was taken into custody without incident, and           17 summary. Thank you for all your hard work and
18 that's how he got charged for pimping.                    18 dedication." Do you see that?
19    Q. You mentioned Listcrawler.com, Sergeant             19    A. Yes.
20 King. Is that a website like Backpage where you           20    Q. Okay. Are you familiar with Operation
21 advertise sex for money?                                  21 Safeguard, Sergeant King?
22    A. Yes. That's one of them. Several more               22    A. Yes.
23 that we normally use, yes.                                23    Q. Is that something that you were involved
24    Q. And is Listcrawler another website that             24 with when you were part of the vice unit?
25 young women would have been using to advertise            25    A. Sometimes we get involved, yes.
                                                   Page 47                                                   Page 49
 1 commercial sex at United Inn and Suites?                   1    Q. And were you aware that one of the target
 2     A. Yes.                                                2 locations under Operation Safeguard was the United
 3     Q. Did Listcrawler have a filter kind of like          3 Inn and Suites?
 4 Backpage did where you could focus on a particular         4    A. Yes.
 5 part of town or a particular area?                         5    Q. Because there was a lot of crime there?
 6     A. Yes, Listcrawler has it.                            6    A. Yes.
 7     Q. So in other words, if you wanted to find            7    Q. Okay. I want to show you what's been
 8 commercial sex around Memorial Drive, you could do         8 marked as Plaintiff's Exhibit 9. And this is Bates
 9 that on Listcrawler?                                       9 stamped Plaintiff 31059 to 31063.
10     A. Yes.                                               10       (Plaintiff's Exhibit 9 marked)
11     Q. Okay. And was it true, in your experience,         11 BY MR. BOUCHARD:
12 Sergeant King, that if somebody was advertising for       12    Q. And sir, I just wanted to ask you a
13 commercial sex around Memorial Drive, nine times out      13 question about the first page here and the second
14 of ten they were at the United Inn and Suites?            14 page. First page refers to Operation Safeguard
15     A. Yes.                                               15 Tucker Gas Stations/Stores/Motels Suppression. Do
16       MR. STORY: Object to the form.                      16 you think suppression there is referring to
17 BY MR. BOUCHARD:                                          17 suppression of crime, or how do you interpret that,
18     Q. Sergeant King, I'm showing you what's been         18 Sergeant King?
19 marked as Plaintiff's Exhibit 9 -- or 8, excuse me,       19       MR. STORY: Object to form.
20 Plaintiff's Exhibit 8, which is Bates stamped             20    A. Suppression of crime.
21 Plaintiff 31057 to 31058.                                 21 BY MR. BOUCHARD:
22       (Plaintiff's Exhibit 8 marked)                      22    Q. I wanted to read this sentence to you,
23 BY MR. BOUCHARD:                                          23 Sergeant King. It says, "An analysis of the top
24     Q. Sergeant King, this is an e-mail chain from        24 eight gas stations/convenience stores and motels was
25 some DeKalb County Police Officers, and I -- I            25 compiled to identify high crime locations." Do you

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 1 see that?                                                1 was, generally speaking, how the DeKalb County
 2    A. Yes.                                               2 Police Department viewed the United Inn and Suites,
 3    Q. Okay. And that was on page 31059, and then         3 that is as a hotel with a high crime rate?
 4 I want to go down to page 31060. Can you see it          4     A. Yes.
 5 says Tucker Precinct Top Motels?                         5     Q. And did the -- the crime that occur -- that
 6    A. Yes.                                               6 occurred at the United Inn and Suites include
 7    Q. And it lists at the top of the list United         7 commercial sex activity like prostitution and sex
 8 Inn, 4649 Memorial Drive?                                8 trafficking?
 9    A. Yes.                                               9     A. Yes.
10    Q. Can you read this paragraph for me,               10     Q. When it says here that the United Inn and
11 Sergeant King?                                          11 Suites has a high crime rate and you -- you told me
12    A. "These locations have the highest crime           12 that operation safeguard was trying to suppress
13 rate within our business community. The Tucker          13 crime within Tucker precinct, was one of the crimes
14 Precinct will increase daily enforcement to reduce      14 that the DeKalb County Police Department was trying
15 these crimes, increase trust and respect among the      15 to suppress at the United Inn and suites commercial
16 owners, managers, and -- and community members who      16 sex crimes?
17 shop or live at this location."                         17     A. Yes.
18    Q. So is this a list of hotels in DeKalb             18     Q. Sergeant King, we've looked at a number of
19 County that have high crime rates?                      19 different police reports now from 2015 through 2020.
20    A. No, not in DeKalb County. That's in Tucker        20 And I wanted to ask over those years, did you
21 precinct area.                                          21 consider commercial sexual activity like
22    Q. So this is a list of hotels in the Tucker         22 prostitution and sex trafficking to be common at the
23 precinct that have a high crime rate?                   23 United Inn and Suites?
24    A. Yes.                                              24     A. Yes.
25    Q. Okay. And which hotel is at the top of the        25     Q. Did you consider it, commercial sexual
                                                 Page 51                                                  Page 53
 1 list?                                                1 activity like prostitution and sex trafficking, to
 2     A. The United Inn.                               2 be a problem at the United Inn and Suites from 2015
 3     Q. Do you understand that to mean that United    3 to 2021?
 4 Inn had the highest crime rate in Tucker precinct,   4     A. Yes.
 5 of all the hotels in Tucker precinct?                5     Q. We've talked about a handful of reports
 6     A. Yes, I can believe that, yes, of all of       6 today. Do you believe, Sergeant King, that the only
 7 them, uh-huh.                                        7 women who are involved in commercial sexual activity
 8     Q. Okay. And I -- I did want to just note        8 at the United Inn and Suites are the women who were
 9 here when it says "mission," a little bit below      9 in those reports, or do you believe that there were
10 where you were just reading, the first section says 10 other women involved in such acts at the hotel who
11 "Who." And it -- it lists in the first line on to   11 were not included in those reports?
12 the second line DeKalb Narcotics/Vice. Do you see 12       A. Other women --
13 that?                                               13       MR. STORY: Objection.
14     A. Yes.                                         14 BY MR. BOUCHARD:
15     Q. Is that the unit that you were part of?      15     Q. Go ahead, Sergeant.
16     A. Yes.                                         16     A. Other women, there are other women and kids
17     Q. Okay. So were you part of this Operation     17 and all that that has not been involved -- that has
18 Safeguard?                                          18 not been in the reports, that has not been recorded,
19     A. Yes.                                         19 so, yes, others.
20     Q. So Sergeant King, in your time working in    20     Q. And why do you say that, Sergeant King?
21 the vice unit with DeKalb County Police Department, 21     A. Because you can't catch every crime. And,
22 did you view the United Inn and Suites as a high    22 you know, you try your best, but you're going to
23 crime hotel?                                        23 miss a couple as you try to compress or, you know,
24     A. Yes.                                         24 move these people out, but it's -- it's -- it's
25     Q. And was it your understanding that that      25 several more. Some of them are scared, they

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 1 can't -- they're not going to come and talk. You      1       THE VIDEOGRAPHER: Back on the video record
 2 got to be standing right there in front of you when   2 at 11:55 a.m.
 3 the police is there. So there are several.            3               EXAMINATION
 4     Q. Is it fair to say that you couldn't spend      4 BY MR. STORY:
 5 all your time just at the United Inn and Suites, you  5     Q. All right, Sergeant King. We met earlier.
 6 had to go to other businesses and properties too to   6 My name is Will Story, and I represent Northbrook
 7 police crime?                                         7 Industries. That's the entity that owns United Inn
 8     A. Yes.                                           8 and Suites. Now, I -- I get a second in this
 9     Q. Sergeant King, in the course of your work      9 deposition, so I'm going to go over a few things
10 in the vice unit, where you would go on websites     10 that Mr. Bouchard went over with you earlier.
11 like Backpage and Listcrawler, did you see           11 There's going to be a lot of times that just for
12 advertisements for women who you believe to be       12 efficiency purposes I'm going to be reading you part
13 minors, that is, under the age of 18?                13 of the report and just -- I'm going to ask you
14       MR. STORY: Object to form.                     14 correct? Because we're over a video, you're going
15     A. Repeat the question.                          15 to know a lot of the times the answer to my
16 BY MR. BOUCHARD:                                     16 question. If you can, for our court reporter, just
17     Q. When you were working the vice unit, you      17 do your best to let me finish and then answer so we
18 said that you would go on websites like Backpage and 18 can create a clean record. All right?
19 Listcrawler; correct?                                19     A. Yes.
20     A. Yes.                                          20     Q. You mentioned in the beginning of your
21     Q. And when you were on those websites, did      21 deposition you've been with DeKalb County for 14
22 you occasionally see advertisements for women who 22 years, eight of those were in the -- the vice unit.
23 you believed to be under the age of 18, that is,     23 What did you do prior to the vice unit?
24 minors?                                              24     A. I was on a NET team, the human -- I mean,
25     A. Yes.                                          25 sorry, the task force unit for four years; and prior
                                                 Page 55                                                  Page 57
 1       MR. STORY: Object to form.                      1 to that, I was in a uniformed patrol capacity.
 2 BY MR. BOUCHARD:                                      2     Q. Okay. So -- and what is that for the four
 3    Q. Do you believe that some of those women         3 years? Was it task force unit you said?
 4 worked in commercial sexual activity at the United    4     A. Yes.
 5 Inn and Suites?                                       5     Q. What were the responsibilities of the task
 6    A. Yes.                                            6 force units?
 7       MR. STORY: Object to form.                      7     A. Target the high crime areas and try to, you
 8 BY MR. BOUCHARD:                                      8 know, compress the crime from the high target area.
 9    Q. Sergeant King, thank you very much for your 9         Q. Okay. And fair to say, I know this isn't
10 time today. I think those are all the questions I    10 an exhaustive list, but basically the DeKalb County
11 have for you, sir. Will Story, who is also on the    11 police vice unit was responsible for prostitution,
12 phone or on the video, may have additional questions 12 illegal gambling, and human trafficking?
13 for you.                                             13     A. Yes. And county ordinance with reference
14    A. Thank you.                                     14 to businesses.
15       MR. STORY: Thank you, Mr. Bouchard. Good 15           Q. Okay. Sergeant King, if you can, explain
16 morning, Sergeant King. If you don't mind, I've got 16 to the jury what -- what's the difference between
17 to use the restroom. If we can take a quick          17 prostitution and human trafficking?
18 two-minute break, and I'll -- I'll get through this  18     A. Prostitution is soliciting yourself for
19 as efficiently as possible. Is that all right with   19 sexual favors and receiving monetary gifts for it.
20 you?                                                 20 And human trafficking is when you're trafficking
21       THE WITNESS: Yes, sir.                         21 somebody from state lines, or you can traffic them
22       MR. STORY: Thank you.                          22 from -- it can get technical as far as even having a
23       THE VIDEOGRAPHER: Going off the video 23 condom, couple of condoms in your possession and
24 record 11:50 a.m.                                    24 transporting that female or male subject, and that
25       (Recess 11:50 to 11:55 a.m.)                   25 could potentially be human trafficking as well,

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 1     A. Yeah, the Budget -- which one?                 1 the Motel 6, that's another one. And right across
 2     Q. That one on 5075 Memorial.                     2 the expressway from Masters Inn and Motel 6 is
 3     A. Did I do Budgetel? I can't remember if I       3 another hotel called American Best Suites, and
 4 did Budgetel. No, I didn't do Budgetel on Memorial. 4 that's another hotel.
 5 I haven't had a case in Budgetel on Memorial. I had   5       (Mr. Story dropped from Zoom.)
 6 a lot of cases in United Inn. We had a lot of cases   6       THE VIDEOGRAPHER: Off the video record at
 7 there. Maybe another detective may had Budget Inn, 7 12:11 p.m.
 8 but I didn't catch one out of there.                  8       (Off-the-record discussion.)
 9     Q. Okay. You were talking about earlier that      9       THE VIDEOGRAPHER: Back on the video record
10 you could perform a, like, search filter on Backpage 10 at 12:12 p.m.
11 that could get you to a general location. Do you     11 BY MR. STORY:
12 remember that?                                       12     Q. Sergeant King, we -- we were discussing the
13     A. Absolutely, yes.                              13 other hotels in the north central precinct, and you
14     Q. Do you know if that filter was only           14 mentioned Motel 6, Masters Inn, and American Best
15 available to you as a police officer or if that was  15 Suites. My question was, did you make any -- or do
16 available to everyone in the general public using    16 you recall making any arrests for prostitution or
17 that website?                                        17 sex trafficking from 2015 to 2021 at any of those
18     A. Everyone in the general public can type it    18 hotels?
19 in. If you know how to navigate through the          19     A. Yes, absolutely.
20 Backpage.com at the time, you could utilize it.      20     Q. Okay.
21     Q. And would you know an exact -- this is        21     A. Several arrests.
22 going to be the wrong phrase, but like an exact      22     Q. All right. I'm going to share my screen
23 geographic area that you were focusing on when you 23 quickly and -- and go over a few of these incident
24 would filter those search results?                   24 reports.
25     A. At that time, yes, I did. If I'm working      25     A. Okay.
                                                   Page 67                                                    Page 69
 1 in -- DeKalb County is broken down with four               1     Q. Give me one second. You see this police
 2 different precincts. You have the north, east,             2 report, Sergeant King?
 3 south, the north central and -- that's what, four --       3     A. Yes.
 4 north central -- north central, south, east, and           4     Q. And you and Mr. Bouchard -- Bouchard have
 5 Tucker precinct area. So if we're going to work in         5 already gone over this, but I just wanted to ask you
 6 a -- let's just throw up one of them, probably work        6 a few questions. You see August 12th, 2015, 2:00
 7 in the east precinct area, in that geographical            7 p.m.?
 8 format of where east is located at, I would type an        8     A. Yes.
 9 address, I would type a street name in that area so        9     Q. All right. And I'm going to scroll down.
10 we can focus in that area.                                10 Here is the assailant's information. Look like it's
11     Q. What precinct is United Inn and Suites in?         11 a Tonisha Smith. And is she -- she's 23 years old;
12     A. That's north central, yes. That's the              12 is that correct?
13 north central precinct.                                   13     A. Yes.
14     Q. When you were going over that -- those             14     Q. All right. And -- and you'll recall, I'm
15 other problem hotels, any of those in the north           15 not going to have you reread it, but if you want to,
16 central precinct that you can recall?                     16 just -- just let me know. This is the one where you
17     A. Say it again.                                      17 and Officer Schofield came in -- is Officer
18     Q. -- is that in the north central precinct?          18 Schofield a female?
19 Masters Inn?                                              19     A. Yes.
20     A. You started breaking up. Repeat it?                20     Q. And y'all kind of had the story of we're
21     Q. Masters Inn?                                       21 doing -- we're a couple, we're doing this for your
22     A. Masters Inn? Masters Inn is -- yes, that's         22 birthday? Does that refresh your recollection?
23 north central.                                            23     A. Yes.
24     Q. Okay.                                              24     Q. Right. So talking about Ms. Smith, the
25     A. Yes. And right across from Masters Inn is          25 female that ends up being arrested for prostitution,

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 1 Mr. Story just asked you, but I'll be done here very  1 that run a hotel?
 2 soon. Okay, sir? Do you need to take a break, or      2     A. Absolutely. Everybody take part so
 3 are you good?                                         3 everybody can see things, everybody know, so yes.
 4       THE WITNESS: No, go ahead. That's cool.         4     Q. And if I've understood you correctly,
 5            FURTHER EXAMINATION                        5 Sergeant King, you're saying you don't ever recall
 6 BY MR. BOUCHARD:                                      6 the United Inn and Suites asking the DeKalb County
 7     Q. Okay. So I wanted to clarify, Sergeant         7 Police Department for training on how to combat sex
 8 King, do you recall having any conversations at any   8 trafficking at the hotel or prostitution at the
 9 time whatsoever with hotel staff or employees at the 9 hotel? Do you recall?
10 United Inn and Suites?                               10     A. Correct. Never asked.
11     A. No.                                           11     Q. You also stated today that you can steer
12     Q. Okay. You simply do not recall ever           12 activity -- Sergeant King, are you still there?
13 talking to hotel employees there. Is that true?      13     A. I'm here.
14     A. True.                                         14     Q. Okay.
15     Q. Okay. Is that something that, typically       15        MR. BOUCHARD: I just got a notice saying
16 speaking, Sergeant, uniformed DeKalb County Police 16 my Internet connection is unstable. Can you guys
17 Department officers would have been doing, not       17 hear me okay?
18 undercover officers like yourself?                   18        THE REPORTER: Yeah. You were breaking up
19     A. Correct.                                      19 a little bit, but it's clear at the moment.
20     Q. You mentioned that you participated in some 20 BY MR. BOUCHARD:
21 discussions with some hotels about what those hotels 21     Q. Okay. Sergeant King, I've heard you say
22 could do to address human trafficking and            22 today that sex for money, commercial sex activity
23 prostitution activity; is that right?                23 was common at the United Inn and Suites from 2015 to
24     A. Yes.                                          24 2021 when you were in the DeKalb vice unit; is that
25     Q. Is one of the things that they can do         25 correct?
                                                 Page 91                                                   Page 93
 1 training their staffs?                                1     A. Yes.
 2     A. Absolutely. Training they staff, get with      2     Q. At any given point in time, Sergeant King,
 3 people like me to give them expertise, advice on how 3 how many women would you estimate were working at
 4 to do things, setting up meetings so we can go over   4 the hotel in commercial sexual activity during that
 5 what they can do and -- and maybe host a meeting      5 time period?
 6 with they staff, stuff like that. But they need to    6     A. Ooh, several. I could say probably
 7 reach out as a business owner to us if they really    7 approximately, well over -- well over 20, well over
 8 want to -- you know, to combat the crime of human     8 20.
 9 trafficking, or sex trafficking.                      9     Q. Sergeant King, do you have an opinion as to
10     Q. Is that something that the DeKalb County      10 whether or not the hotel knew that commercial sexual
11 Police Department would have provided for free to    11 activity was occurring on the property?
12 the United Inn if the United Inn had reached out to  12     A. Based on my knowledge and training and
13 DeKalb County requesting training for its employees? 13 experience on that, the hotel should have known,
14     A. Absolutely, absolutely. In that case, that    14 especially the narcotic situations from drug
15 would be something like I would have came out and 15 activity, they should, by walking around and seeing
16 did it, yes, absolutely.                             16 the activity of people loitering in the back of the
17     Q. And is that a training that you would have    17 complex, they should have some knowledge of
18 provided to all staff at the hotel, or is there just 18 something.
19 to the manager, or who -- who would you have         19       Some hotels been doing it for so -- a long
20 trained, Sergeant?                                   20 period of time that when a pimp gets a room, he or
21     A. Well, it depends on the -- the owners or      21 she normally gets three or four rooms, so they --
22 the managers of the hotel. But it would be           22 what they're doing, they generating revenue for them
23 beneficial for all the staff to be present.          23 as well, so they -- they try to look the other way
24     Q. Are you including, then, housekeeping,        24 in reference to what's really going on to keep the
25 front desk, maintenance, or all the different layers 25 revenue up, keep the rooms booked.

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